      Case 2:17-cv-00748-KOB          Document 123        Filed 08/20/19      Page 1 of 1             FILED
                                                                                             2019 Aug-20 AM 08:17
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA

                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

JONES STEPHENS CORP.,                          ]
                                               ]
       Plaintiff,                              ]
                                               ]
v.                                             ]               CIVIL ACTION NO.:
                                               ]                2:17-CV-748 KOB
COASTAL NINGBO HARDWARE                        ]
MANUFACTURING CO., LTD, et al.                 ]
                                               ]
       Defendants.                             ]

       ORDER OF PARTIAL DISMISSAL OF PLAINTIFF’S CLAIMS AGAINST
                DEFENDANT, COASTAL NINGBO HARDWARE
                      MANUFACTURING CO., LTD

       In accordance with the plaintiff’s Stipulation of Dismissal with Prejudice, filed August

19, 2019 (doc. 122), the court hereby orders that the claims asserted against Coast Ningbo

Hardware Manufacturing Co., Ltd, only, which relate in any way to property damage

occurring on or after April 28, 2016, shall be, and are, DISMISSED WITHOUT

PREJUDICE.

       Plaintiff’s remaining claims against Coastal Ningbo Hardware Manufacturing Co., Ltd

and the claims against Great American E&S Insurance Co., New Century Insurance Services,

Inc., AmWins Insurance Brokerage of California, LLC and AmWins Insurance Brokerage of

Arizona, LLC, remain before the court.

       DONE and ORDERED this 20th day of August, 2019.




                                                   ____________________________________
                                                   KARON OWEN BOWDRE
                                                   CHIEF UNITED STATES DISTRICT JUDGE
